Case 2:10-cv-08888-CJB-JCW Document 85348 Filed 04/20/11 Page 1of3

git IN RE: OIL SPILL by “Deepwater Horizon”

we ABE 8S DIRECT FILING SHORT FORM’

UA a :
. oe gue Authorized by Order of the Court, Civil Action No, 10 md 2179 Rec. Doc. 982
’ (Coples of said Order having also bean filed in Civil Actions No. 10-8888 and 10-2771)

SECTION: J JUDGE CARL GARBIER

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A ax , x - i PROTON Ena on Pr a crn i i
By submitting this document, | am asserting a claim in Complain

ai., No. 10-2771; adopt and Incorporate the Master Answer [Rec, Dog. 244] to the Complsint and Petition of Triton
Asset Leasing Gmbh, at al., in No, 10-2774; and/or Intervene into, join and otherwise adopt the Master Complaint
[Rec, Doc. 879] for private economic losses (“B41 Bundle”) fitad In MOL No. 2178 (10 mid 2179); and/or Intervene
Into, join and otherwise adopt the Master Complaint [Rec. Doc. 861] for post-explosion injuries (“B3 Sundie")

filed in MDL No. 2179 (10 md 2179).

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INDIVIDUAL, CLAIM oe . “SOMINESS-CLAIM 7. : RE a

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denDaniels mom “The Mediadocs PA.
tata Koad | Florids 33453)

Claim filed with BP? ves O No () Clem Filed wih GCCF?: YES [7] no [1

(tyes. BP Claim No.: IF yes, Glaknant kentification Na.

tain Type (Please check ail that apply): ,
Damage or destruction to reel or personal property Faar of Future Injury and/or Medical Mentoring
Eaminge/Protit Loss Loss of Subslatance use of Natural Resources
Pereonat Injury/Dealh Removel and/or clean-up costs
fe

1 This form should be filed with the U5. Dleteict Court for the Eastern District of Loutsiana In New Orleans, Loulsiang in Civil Action No. 10-9688. While this Direct
Filing Short Form Is to be filad In CA Na, 10-3898, by prior ordar of tha Court, (Re. Doe, 246, C.A. No, 10-2771 and flec. Doc. 982 In MDL 2179), the filing of this form
in CA, No. 10-2888 shail be deemed to be simultaneously filed In GA, 10-2771 and MOL2175, Plaintiff Unison Counsel, after baing natiied electronically by the Clerk
of Court of the filing of this Short Form, shall promptly carve this form through the ta Naxle service rystem on Defense Liakkan.

The fHing of this Direct Fiting Short Form shall siso serve in Haw of ine requirement of @ Plaintir to fae 4 Plaintil Proffe Porm.
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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4. For eamings/profit (oss, property damage and loss of subsistence use clairns, describe the nature of the Injury. For claime
invelving real estate/property, include the property location, type of praperty (residential/commearciat), and wheiher physical
damage occurred. For claims retaling to fishing of any type, Include the type and location of fishing grounda at isaue.

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2, For personal injury claims, deecribe the injury, how and when Kt waa sustai ad, and identify all heatth care providersa
employers 2008 to present and complete authorization forma for each. acl inn re,

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3. For post-explosion claims related to mup lor rambval, Include your role In the © pyreup ciivities, tha name of your

employer. and where you wers working.
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Please check the box(es) below that you ¢
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hink apply to you and your claims:

ppery Lam Sung

‘xt Commercial fisherman, shrimper, crabber, or oysterman, or the owner and oparator of a business invehdng fishing, shrimping,
crabbing or oysiering,

Saatood proceesor, distributor, retall and seafood martei, or restaurant owner and operator, oF an ampioyes thereof.

Recrsotionsl bueinace owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing businass who eam thelr living through the use of the Gulf of Mexice.

Commarcial business, businaas owner, operator or worker, Inciuding commercial divers, offanore oilfield eervice, repair and
supply, real estate agents, and supply companies, or an employes thareot.

Recreational spon fisharmen, recreational diver, baachgosr, or recreational Doster.
Plant and dock worker, Including commercial seafood plant worker, longehoreman, ¢F ferry operator.

Owner, ‘essor, or losece of real propesty alleged to b~ damaged, harmed or Impacted, physitally of economically, including
| lessee of oyster bads.

Hotel owner and gperstor, vacation rental owner and agent, of ef those who am thelr inving from the touriam industry.
Bank, financial Institution, or retall business that suffered onses o# @ result of the epld,

Beat captain or crew Involved in the Vassale of Opportunity program.
Worker Involved in decontaminating vessels [nat came Inte contact with of and/or chemical dispersants.

‘Veasel capiain or crew whe wae not Invalved In the Vassels of Opportunity program but wha ware exposed to harmful chamicais,
edors and emiselons during post-expioeion clean-up activities.

Clean-up workar of beach personne! Involved in clean-up activities along shoretines and Intercossial and intertidal zones.

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se to the Defendants In MDL
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“Date

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